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               Exhibit A
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                                                                           U.S. Department of Homeland Security
                                                                           Cybersecurity & Infrastructure Security Agency
                                                                           Office of the Director
                                                                           Washington, DC 20528




                                                                                     March 19, 2020


MEMORANDUM ON IDENTIFICATION OF ESSENTIAL CRITICAL
INFRASTRUCTURE WORKERS DURING COVID-19 RESPONSE


FROM:          Christopher C. Krebs
               Director
               Cybersecurity and Infrastructure Security Agency (CISA)



As the Nation comes together to slow the spread of COVID-19, on March 16th, the President issued
updated Coronavirus Guidance for America. This guidance states that:

    “If you work in a critical infrastructure industry, as defined by the Department of
    Homeland Security, such as healthcare services and pharmaceutical and food supply, you
    have a special responsibility to maintain your normal work schedule.”

The Cybersecurity and Infrastructure Security Agency (CISA) executes the Secretary of Homeland
Security’s responsibilities as assigned under the Homeland Security Act of 2002 to provide strategic
guidance, promote a national unity of effort, and coordinate the overall federal effort to ensure the
security and resilience of the Nation's critical infrastructure. CISA uses trusted partnerships with
both the public and private sectors to deliver infrastructure resilience assistance and guidance to a
broad range of partners.

In accordance with this mandate, and in collaboration with other federal agencies and the private
sector, CISA developed an initial list of “Essential Critical Infrastructure Workers” to help State and
local officials as they work to protect their communities, while ensuring continuity of functions
critical to public health and safety, as well as economic and national security. The list can also
inform critical infrastructure community decision-making to determine the sectors, sub-sectors,
segments, or critical functions that should continue normal operations, appropriately modified to
account for Centers for Disease Control (CDC) workforce and customer protection guidance.

The attached list identifies workers who conduct a range of operations and services that are essential
to continued critical infrastructure viability, including staffing operations centers, maintaining and
repairing critical infrastructure, operating call centers, working construction, and performing
management functions, among others. The industries they support represent, but are not necessarily
limited to, medical and healthcare, telecommunications, information technology systems, defense,
food and agriculture, transportation and logistics, energy, water and wastewater, law enforcement,
and public works.
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We recognize that State, local, tribal, and territorial governments are ultimately in charge of
implementing and executing response activities in communities under their jurisdiction, while the
Federal Government is in a supporting role. As State and local communities consider
COVID-19-related restrictions, CISA is offering this list to assist prioritizing activities related to
continuity of operations and incident response, including the appropriate movement of critical
infrastructure workers within and between jurisdictions.

Accordingly, this list is advisory in nature. It is not, nor should it be considered to be, a federal
directive or standard in and of itself.

In addition, these identified sectors and workers are not intended to be the authoritative or exhaustive
list of critical infrastructure sectors and functions that should continue during the COVID-19
response. Instead, State and local officials should use their own judgment in using their authorities
and issuing implementation directives and guidance. Similarly, critical infrastructure industry
partners will use their own judgment, informed by this list, to ensure continued operations of critical
infrastructure services and functions. All decisions should appropriately balance public safety while
ensuring the continued delivery of critical infrastructure services and functions.

CISA will continue to work with you and our partners in the critical infrastructure community to
update this list as the Nation’s response to COVID-19 evolves. We also encourage you to submit
how you might use this list so that we can develop a repository of use cases for broad sharing across
the country.

Should you have questions about this list, please contact CISA at CISA.CAT@cisa.dhs.gov.



Attachment: “Guidance on the Essential Critical Infrastructure Workforce: Ensuring Community
             and National Resilience in COVID-19 Response”




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Guidance on the Essential Critical Infrastructure Workforce:
Ensuring Community and National Resilience in COVID-19
Response
Version 1.0 (March 19, 2020)



THE IMPORTANCE OF ESSENTIAL CRITICAL INFRASTRUCTURE WORKERS
Functioning critical infrastructure is imperative during the response to the COVID-19 emergency for both public health
and safety as well as community well-being. Certain critical infrastructure industries have a special responsibility in
these times to continue operations.
This guidance and accompanying list are intended to support State, Local, and industry partners in identifying the
critical infrastructure sectors and the essential workers needed to maintain the services and functions Americans
depend on daily and that need to be able to operate resiliently during the COVID-19 pandemic response.
This document gives guidance to State, local, tribal, and territorial jurisdictions and the private sector on defining
essential critical infrastructure workers. Promoting the ability of such workers to continue to work during periods of
community restriction, access management, social distancing, or closure orders/directives is crucial to community
resilience and continuity of essential functions.

CONSIDERATIONS FOR GOVERNMENT AND BUSINESS
This list was developed in consultation with federal agency partners, industry experts, and State and local officials,
and is based on several key principles:
    1. Response efforts to the COVID-19 pandemic are locally executed, State managed, and federally supported

    2. Everyone should follow guidance from the CDC, as well as State and local government officials, regarding
       strategies to limit disease spread.

    3. Workers should be encouraged to work remotely when possible and focus on core business activities. In-
       person, non-mandatory activities should be delayed until the resumption of normal operations.

    4. When continuous remote work is not possible, businesses should enlist strategies to reduce the likelihood of
       spreading the disease. This includes, but is not necessarily limited to, separating staff by off-setting shift
       hours or days and/or social distancing. These steps can preserve the workforce and allow operations to
       continue.




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    5. All organizations should implement their business continuity and pandemic plans, or put plans in place if they
       do not exist. Delaying implementation is not advised and puts at risk the viability of the business and the
       health and safety of the employees.

    6. In the modern economy, reliance on technology and just-in-time supply chains means that certain workers
       must be able to access certain sites, facilities, and assets to ensure continuity of functions.

    7. Government employees, such as emergency managers, and the business community need to establish and
       maintain lines of communication.

    8. When government and businesses engage in discussions about critical infrastructure workers, they need to
       consider the implications of business operations beyond the jurisdiction where the asset or facility is located.
       Businesses can have sizeable economic and societal impacts as well as supply chain dependencies that are
       geographically distributed.

    9. Whenever possible, jurisdictions should align access and movement control policies related to critical
       infrastructure workers to lower the burden of workers crossing jurisdictional boundaries.



IDENTIFYING ESSENTIAL CRITICAL INFRASTRUCTURE WORKERS
The following list of sectors and identified essential critical infrastructure workers are an initial recommended set and
are intended to be overly inclusive reflecting the diversity of industries across the United States. CISA will continually
solicit and accept feedback on the list (both sectors/sub sectors and identified essential workers) and will evolve the
list in response to stakeholder feedback. We will also use our various stakeholder engagement mechanisms to work
with partners on how they are using this list and share those lessons learned and best practices broadly. We ask that
you share your feedback, both positive and negative on this list so we can provide the most useful guidance to our
critical infrastructure partners. Feedback can be sent to CISA.CAT@CISA.DHS.GOV.




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HEALTHCARE / PUBLIC HEALTH
   •   Workers providing COVID-19 testing; Workers that perform critical clinical research needed for COVID-19
       response
   •   Caregivers (e.g., physicians, dentists, psychologists, mid-level practitioners, nurses and assistants, infection
       control and quality assurance personnel, pharmacists, physical and occupational therapists and assistants,
       social workers, speech pathologists and diagnostic and therapeutic technicians and technologists)
   •   Hospital and laboratory personnel (including accounting, administrative, admitting and discharge, engineering,
       epidemiological, source plasma and blood donation, food service, housekeeping, medical records, information
       technology and operational technology, nutritionists, sanitarians, respiratory therapists, etc.)
   •   Workers in other medical facilities (including Ambulatory Health and Surgical, Blood Banks, Clinics, Community
       Mental Health, Comprehensive Outpatient rehabilitation, End Stage Renal Disease, Health Departments, Home
       Health care, Hospices, Hospitals, Long Term Care, Organ Pharmacies, Procurement Organizations, Psychiatric
       Residential, Rural Health Clinics and Federally Qualified Health Centers)
   •   Manufacturers, technicians, logistics and warehouse operators, and distributors of medical equipment,
       personal protective equipment (PPE), medical gases, pharmaceuticals, blood and blood products, vaccines,
       testing materials, laboratory supplies, cleaning, sanitizing, disinfecting or sterilization supplies, and tissue and
       paper towel products
   •   Public health / community health workers, including those who compile, model, analyze and communicate
       public health information
   •   Blood and plasma donors and the employees of the organizations that operate and manage related activities
   •   Workers that manage health plans, billing, and health information, who cannot practically work remotely
   •   Workers who conduct community-based public health functions, conducting epidemiologic surveillance,
       compiling, analyzing and communicating public health information, who cannot practically work remotely
   •   Workers performing cybersecurity functions at healthcare and public health facilities, who cannot practically
       work remotely
   •   Workers conducting research critical to COVID-19 response
   •   Workers performing security, incident management, and emergency operations functions at or on behalf of
       healthcare entities including healthcare coalitions, who cannot practically work remotely
   •   Workers who support food, shelter, and social services, and other necessities of life for economically
       disadvantaged or otherwise needy individuals, such as those residing in shelters
   •   Pharmacy employees necessary for filling prescriptions
   •   Workers performing mortuary services, including funeral homes, crematoriums, and cemetery workers
   •   Workers who coordinate with other organizations to ensure the proper recovery, handling, identification,
       transportation, tracking, storage, and disposal of human remains and personal effects; certify cause of death;
       and facilitate access to mental/behavioral health services to the family members, responders, and survivors of
       an incident




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LAW ENFORCEMENT, PUBLIC SAFETY, FIRST RESPONDERS
   •   Personnel in emergency management, law enforcement, Emergency Management Systems, fire, and
       corrections, including front line and management
   •   Emergency Medical Technicians
   •   911 call center employees
   •   Fusion Center employees
   •   Hazardous material responders from government and the private sector.
   •   Workers – including contracted vendors -- who maintain digital systems infrastructure supporting law
       enforcement and emergency service operations.

FOOD AND AGRICULTURE
   •   Workers supporting groceries, pharmacies and other retail that sells food and beverage products
   •   Restaurant carry-out and quick serve food operations - Carry-out and delivery food employees
   •   Food manufacturer employees and their supplier employees—to include those employed in food processing
       (packers, meat processing, cheese plants, milk plants, produce, etc.) facilities; livestock, poultry, seafood
       slaughter facilities; pet and animal feed processing facilities; human food facilities producing by-products for
       animal food; beverage production facilities; and the production of food packaging
   •   Farm workers to include those employed in animal food, feed, and ingredient production, packaging, and
       distribution; manufacturing, packaging, and distribution of veterinary drugs; truck delivery and transport; farm
       and fishery labor needed to produce our food supply domestically
   •   Farm workers and support service workers to include those who field crops; commodity inspection; fuel ethanol
       facilities; storage facilities; and other agricultural inputs
   •   Employees and firms supporting food, feed, and beverage distribution, including warehouse workers, vendor-
       managed inventory controllers and blockchain managers
   •   Workers supporting the sanitation of all food manufacturing processes and operations from wholesale to retail
   •   Company cafeterias - in-plant cafeterias used to feed employees
   •   Workers in food testing labs in private industries and in institutions of higher education
   •   Workers essential for assistance programs and government payments
   •   Employees of companies engaged in the production of chemicals, medicines, vaccines, and other substances
       used by the food and agriculture industry, including pesticides, herbicides, fertilizers, minerals, enrichments,
       and other agricultural production aids
   •   Animal agriculture workers to include those employed in veterinary health; manufacturing and distribution of
       animal medical materials, animal vaccines, animal drugs, feed ingredients, feed, and bedding, etc.;
       transportation of live animals, animal medical materials; transportation of deceased animals for disposal;
       raising of animals for food; animal production operations; slaughter and packing plants and associated
       regulatory and government workforce
   •   Workers who support the manufacture and distribution of forest products, including, but not limited to timber,
       paper, and other wood products
   •   Employees engaged in the manufacture and maintenance of equipment and other infrastructure necessary to
       agricultural production and distribution




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ENERGY
Electricity industry:
    •   Workers who maintain, ensure, or restore the generation, transmission, and distribution of electric power,
        including call centers, utility workers, reliability engineers and fleet maintenance technicians
    •   Workers needed for safe and secure operations at nuclear generation
    •   Workers at generation, transmission, and electric blackstart facilities
    •   Workers at Reliability Coordinator (RC), Balancing Authorities (BA), and primary and backup Control Centers
        (CC), including but not limited to independent system operators, regional transmission organizations, and
        balancing authorities
    •   Mutual assistance personnel
    •   IT and OT technology staff – for EMS (Energy Management Systems) and Supervisory Control and Data
        Acquisition (SCADA) systems, and utility data centers; Cybersecurity engineers; cybersecurity risk management
    •   Vegetation management crews and traffic workers who support
    •   Environmental remediation/monitoring technicians
    •   Instrumentation, protection, and control technicians

Petroleum workers:
    •   Petroleum product storage, pipeline, marine transport, terminals, rail transport, road transport
    •   Crude oil storage facilities, pipeline, and marine transport
    •   Petroleum refinery facilities
    •   Petroleum security operations center employees and workers who support emergency response services
    •   Petroleum operations control rooms/centers
    •   Petroleum drilling, extraction, production, processing, refining, terminal operations, transporting, and retail for
        use as end-use fuels or feedstocks for chemical manufacturing
    •   Onshore and offshore operations for maintenance and emergency response
    •   Retail fuel centers such as gas stations and truck stops, and the distribution systems that support them

Natural and propane gas workers:
    •   Natural gas transmission and distribution pipelines, including compressor stations
    •   Underground storage of natural gas
    •   Natural gas processing plants, and those that deal with natural gas liquids
    •   Liquefied Natural Gas (LNG) facilities
    •   Natural gas security operations center, natural gas operations dispatch and control rooms/centers natural gas
        emergency response and customer emergencies, including natural gas leak calls
    •   Drilling, production, processing, refining, and transporting natural gas for use as end-use fuels, feedstocks for
        chemical manufacturing, or use in electricity generation
    •   Propane gas dispatch and control rooms and emergency response and customer emergencies, including
        propane leak calls
    •   Propane gas service maintenance and restoration, including call centers




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    •   Processing, refining, and transporting natural liquids, including propane gas, for use as end-use fuels or
        feedstocks for chemical manufacturing
    •   Propane gas storage, transmission, and distribution centers

WATER AND WASTEWATER
Employees needed to operate and maintain drinking water and wastewater/drainage infrastructure, including:
   • Operational staff at water authorities
   • Operational staff at community water systems
   • Operational staff at wastewater treatment facilities
   • Workers repairing water and wastewater conveyances and performing required sampling or monitoring
   • Operational staff for water distribution and testing
   • Operational staff at wastewater collection facilities
   • Operational staff and technical support for SCADA Control systems
   • Chemical disinfectant suppliers for wastewater and personnel protection
   • Workers that maintain digital systems infrastructure supporting water and wastewater operations


TRANSPORTATION AND LOGISTICS
    •   Employees supporting or enabling transportation functions, including dispatchers, maintenance and repair
        technicians, warehouse workers, truck stop and rest area workers, and workers that maintain and inspect
        infrastructure (including those that require cross-border travel)
    •   Employees of firms providing services that enable logistics operations, including cooling, storing, packaging,
        and distributing products for wholesale or retail sale or use.
    •   Mass transit workers
    •   Workers responsible for operating dispatching passenger, commuter and freight trains and maintaining rail
        infrastructure and equipment
    •   Maritime transportation workers - port workers, mariners, equipment operators
    •   Truck drivers who haul hazardous and waste materials to support critical infrastructure, capabilities, functions,
        and services
    •   Automotive repair and maintenance facilities
    •   Manufacturers and distributors (to include service centers and related operations) of packaging materials,
        pallets, crates, containers, and other supplies needed to support manufacturing, packaging staging and
        distribution operations
    •   Postal and shipping workers, to include private companies
    •   Employees who repair and maintain vehicles, aircraft, rail equipment, marine vessels, and the equipment and
        infrastructure that enables operations that encompass movement of cargo and passengers
    •   Air transportation employees, including air traffic controllers, ramp personnel, aviation security, and aviation
        management
    •   Workers who support the maintenance and operation of cargo by air transportation, including flight crews,
        maintenance, airport operations, and other on- and off- airport facilities workers




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PUBLIC WORKS
   •   Workers who support the operation, inspection, and maintenance of essential dams, locks and levees
   •   Workers who support the operation, inspection, and maintenance of essential public works facilities and
       operations, including bridges, water and sewer main breaks, fleet maintenance personnel, construction of
       critical or strategic infrastructure, traffic signal maintenance, emergency location services for buried utilities,
       maintenance of digital systems infrastructure supporting public works operations, and other emergent issues
   •   Workers such as plumbers, electricians, exterminators, and other service providers who provide services that
       are necessary to maintaining the safety, sanitation, and essential operation of residences
   •   Support, such as road and line clearing, to ensure the availability of needed facilities, transportation, energy
       and communications
   •   Support to ensure the effective removal, storage, and disposal of residential and commercial solid waste and
       hazardous waste

COMMUNICATIONS AND INFORMATION TECHNOLOGY
Communications:
   •   Maintenance of communications infrastructure- including privately owned and maintained communication
       systems- supported by technicians, operators, call-centers, wireline and wireless providers, cable service
       providers, satellite operations, undersea cable landing stations, Internet Exchange Points, and manufacturers
       and distributors of communications equipment
   •   Workers who support radio, television, and media service, including, but not limited to front line news
       reporters, studio, and technicians for newsgathering and reporting
   •   Workers at Independent System Operators and Regional Transmission Organizations, and Network Operations
       staff, engineers and/or technicians to manage the network or operate facilities
   •   Engineers, technicians and associated personnel responsible for infrastructure construction and restoration,
       including contractors for construction and engineering of fiber optic cables
   •   Installation, maintenance and repair technicians that establish, support or repair service as needed
   •   Central office personnel to maintain and operate central office, data centers, and other network office facilities
   •   Customer service and support staff, including managed and professional services as well as remote providers
       of support to transitioning employees to set up and maintain home offices, who interface with customers to
       manage or support service environments and security issues, including payroll, billing, fraud, and
       troubleshooting
   •   Dispatchers involved with service repair and restoration

Information Technology:
   •   Workers who support command centers, including, but not limited to Network Operations Command Center,
       Broadcast Operations Control Center and Security Operations Command Center
   •   Data center operators, including system administrators, HVAC & electrical engineers, security personnel, IT
       managers, data transfer solutions engineers, software and hardware engineers, and database administrators
   •   Client service centers, field engineers, and other technicians supporting critical infrastructure, as well as




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       manufacturers and supply chain vendors that provide hardware and software, and information technology
       equipment (to include microelectronics and semiconductors) for critical infrastructure
   •   Workers responding to cyber incidents involving critical infrastructure, including medical facilities, SLTT
       governments and federal facilities, energy and utilities, and banks and financial institutions, and other critical
       infrastructure categories and personnel
   •   Workers supporting the provision of essential global, national and local infrastructure for computing services
       (incl. cloud computing services), business infrastructure, web-based services, and critical manufacturing
   •   Workers supporting communications systems and information technology used by law enforcement, public
       safety, medical, energy and other critical industries
   •   Support required for continuity of services, including janitorial/cleaning personnel

OTHER COMMUNITY-BASED GOVERNMENT OPERATIONS AND ESSENTIAL
FUNCTIONS
   •   Workers to ensure continuity of building functions
   •   Security staff to maintain building access control and physical security measures
   •   Elections personnel
   •   Federal, State, and Local, Tribal, and Territorial employees who support Mission Essential Functions and
       communications networks
   •   Trade Officials (FTA negotiators; international data flow administrators)
   •   Weather forecasters
   •   Workers that maintain digital systems infrastructure supporting other critical government operations
   •   Workers at operations centers necessary to maintain other essential functions
   •   Workers who support necessary credentialing, vetting and licensing operations for transportation workers
   •   Customs workers who are critical to facilitating trade in support of the national emergency response supply
       chain
   •   Educators supporting public and private K-12 schools, colleges, and universities for purposes of facilitating
       distance learning or performing other essential functions, if operating under rules for social distancing
   •   Hotel Workers where hotels are used for COVID-19 mitigation and containment measures

CRITICAL MANUFACTURING
   •   Workers necessary for the manufacturing of materials and products needed for medical supply chains,
       transportation, energy, communications, food and agriculture, chemical manufacturing, nuclear facilities, the
       operation of dams, water and wastewater treatment, emergency services, and the defense industrial base.

HAZARDOUS MATERIALS
   •   Workers at nuclear facilities, workers managing medical waste, workers managing waste from pharmaceuticals
       and medical material production, and workers at laboratories processing test kits
   •   Workers who support hazardous materials response and cleanup
   •   Workers who maintain digital systems infrastructure supporting hazardous materials management operations




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FINANCIAL SERVICES
   •    Workers who are needed to process and maintain systems for processing financial transactions and services
       (e.g., payment, clearing, and settlement; wholesale funding; insurance services; and capital markets activities)
   •    Workers who are needed to provide consumer access to banking and lending services, including ATMs, and to
       move currency and payments (e.g., armored cash carriers)
   •    Workers who support financial operations, such as those staffing data and security operations centers


CHEMICAL
   •   Workers supporting the chemical and industrial gas supply chains, including workers at chemical manufacturing
       plants, workers in laboratories, workers at distribution facilities, workers who transport basic raw chemical
       materials to the producers of industrial and consumer goods, including hand sanitizers, food and food
       additives, pharmaceuticals, textiles, and paper products.
   •   Workers supporting the safe transportation of chemicals, including those supporting tank truck cleaning
       facilities and workers who manufacture packaging items
   •   Workers supporting the production of protective cleaning and medical solutions, personal protective equipment,
       and packaging that prevents the contamination of food, water, medicine, among others essential products
   •   Workers supporting the operation and maintenance of facilities (particularly those with high risk chemicals and/
       or sites that cannot be shut down) whose work cannot be done remotely and requires the presence of highly
       trained personnel to ensure safe operations, including plant contract workers who provide inspections
   •   Workers who support the production and transportation of chlorine and alkali manufacturing, single-use
       plastics, and packaging that prevents the contamination or supports the continued manufacture of food, water,
       medicine, and other essential products, including glass container manufacturing


DEFENSE INDUSTRIAL BASE
   •   Workers who support the essential services required to meet national security commitments to the federal
       government and U.S. Military. These individuals, include but are not limited to, aerospace; mechanical and
       software engineers, manufacturing/production workers; IT support; security staff; security personnel;
       intelligence support, aircraft and weapon system mechanics and maintainers
   •   Personnel working for companies, and their subcontractors, who perform under contract to the Department of
       Defense providing materials and services to the Department of Defense, and government-owned/contractor-
       operated and government-owned/government-operated facilities




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